             Case 2:13-cr-00114-TOR                        ECF No. 256                filed 07/21/14               PageID.612 Page 1 of 2
O PS 8
(5/04)


                                         UNITED STATES DISTRICT COURT
                                                                                    for
                                                           Eastern District of Washington


 U.S.A. vs.                       Rodabough, Vincent Montel                                         Docket No.                0980 2:13CR00114-004


                                            Petition for Action on Conditions of Pretrial Release

        COMES NOW David L. McCary, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Vincent Montel Rodabough, who was placed under pretrial release supervision by the Honorable
U.S. Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 5th day of August, 2013,
under the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless
prescribed by a licensed medical practitioner.

Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program, random urinalysis testing shall be conducted
through Pretrial Services, and shall not exceed six (6) times per month. Defendant shall submit to any method of testing required by the Pretrial Service Office for
determining whether the Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing, the wearing of a
sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing. Defendant shall restrain from obstructing or attempting to
obstruct or tamper, in any fashion, with the efficiency and accuracy of prohibited substance testing. Full mutual releases shall be executed to permit communication
between the court, Pretrial Services, and the treatment vendor. Treatment shall not interfere with Defendant’s court appearances.


          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                  (If short insert here; if lengthy write on separate sheet and attach.)

Violation #1: Vincent Rodabough is considered to be in violation of his period of pretrial supervision by using a controlled substance,
methamphetamine, on or prior to June 27, 2014.

Violation #2: Vincent Rodabough is considered to be in violation of his period of pretrial supervision by failing to report for random urinalysis
testing on July 2, 2014; July 10, 2014; July 14, 2014; and July 16, 2014.

                                       PRAYING THAT THE COURT WILL ORDER A WARRANT




                                                                                                       I declare under the penalty of perjury
                                                                                                       that the foregoing is true and correct.
                                                                                                       Executed on:          July 21, 2014
                                                                                           by          s/David L. McCary
                                                                                                       David L. McCary
                                                                                                       U.S. Pretrial Services Officer
         Case 2:13-cr-00114-TOR      ECF No. 256   filed 07/21/14    PageID.613 Page 2 of 2
  PS-8


  Page 2

THE COURT ORDERS

[ ]      No Action
[ X]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other


                                                              Signature of Judicial Officer
                                                               July 21, 2014
                                                              Date
